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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 IN RE:
                                                    Case No. 22-40667
 CAMERON M PERONI                                   Chapter 7


                                 Debtor(s)

               AFFIDAVIT OF ATTORNEYS IN SUPPORT OF TRUSTEE’S
             APPLICATION TO APPROVE EMPLOYMENT OF ATTORNEYS

STATE OF TEXAS                  §
                                §
COUNTY OF DALLAS                §

        I, Mark A. Weisbart, being first duly sworn, under oath, state:

        1.      “I am an attorney in the law firm of Hayward PLLC (the “Firm”) located at 10501

N Central Expy, Suite 106, Dallas, Texas 75231. In that capacity I am authorized to execute this

Affidavit and I have personal knowledge of the facts stated herein and they are true and correct.

        2.      This Affidavit is prepared in connection with the Trustee’s Application To Approve

Employment of Attorneys in which the Trustee seeks authority to employ himself, his staff and

the Firm as his attorneys in this case pursuant to 11 U.S.C § 327.

        3.      The Firm has not been contacted to represent any of the Debtor’s creditors and is

itself not a creditor of the Debtor.

        4.      The Firm has determined that it has not represented any creditors or related entities

in matters related to this bankruptcy case. The Firm in the ordinary course of its business, may

have represented from time to time entities or individuals which are creditors of the Debtor in

unrelated matters. To the best of the Trustee’s knowledge, the Firm has no connection with the
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Debtor, the creditors, any other party-in-interest or their respective attorneys, and accountants, the

United States Trustee or any person employed in the Office of the United States Trustee.

        5.      Based on the foregoing, the Firm believes that it has no adverse interest to the

Debtor or to the bankruptcy estate in matters for which it is engaged for the Trustee and that its

employment will be in the best interest of this estate. Further, the Firm believes that it has fully

complied with the requirements of 11 U.S.C. § 327 and is a “disinterested person” as set forth in

such section and that no conflict of interest arises from its employment as Trustee’s counsel.

Finally, the Firm has never served as an examiner for the Debtor.

        6.      The Firm represents that the foregoing constitutes a complete and full disclosure of

all prior and current representation of clients which have any connection to this case, and that it

has done everything within its power to discover any conflicts. However, the Firm reserves the

right to supplement and amend this Affidavit should it discover further information concerning its

past and present representation of clients which relates to the Debtor, its creditors and other parties-

in-interest, or in any other way is related to this case.

        7.      The professional services of the Firm will include those identified in the

Application and may include services generally performed by counsel for a bankruptcy trustee,

such as assisting in the administration of the case, evaluating and pursuing avoidance actions,

prosecuting claim objections, investigating into the acts, conduct, assets, liabilities, and financial

condition of the Debtor, drafting pleadings, and performing other litigation functions.

        8.      To the best of my knowledge, the information contained herein is true and

accurate.”

                                                _______________________________
                                                MARK A. WEISBART
                                                HAYWARD PLLC
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STATE OF TEXAS              §
                            §
COUNTY OF DALLAS            §

        BEFORE ME, the undersigned Notary Public, on this day personally appeared Mark A.
Weisbart, known to me to be the duly authorized agent for the person whose name is subscribed
to the foregoing Affidavit, and acknowledged to me that he executed the same for the purposes
and consideration therein expressed.

       SUBSCRIBED TO AND SWORN TO BEFORE ME this 22nd day of July, 2022.

       IN WITNESS WHEREOF, I have hereunto set my hand and official seal.



                                          _______________________________
                                          NOTARY PUBLIC IN AND FOR
                                          THE STATE OF TEXAS

My Commission Expires:
